                         IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION
                               Civil Action No. 5:09-CV-23-BR

MORRIS & ASSOCIATES, INC.,                            )
    a North Carolina Corporation,                     )
                                                      )
                       Plaintiff,                     )
                                                      )        DISMISSAL ORDER
                                 v.                   )
                                                      )
COOLING & APPLIED TECHNOLOGY, INC.,                   )
     an Arkansas Corporation,                         )
                                                      )
                       Defendant.                     )

       THIS MATTER came before the Court on the Parties’ Joint Consolidated Consent

Motion for Entry of Injunction Order and Dismissal Order. After reviewing the Joint Motion

and the record in this case, and with the consent of the Parties pursuant to the terms of a

Settlement Agreement dated December 1, 2011, the Court is informed that the Parties have

agreed to compromise and settle their differences, jointly requesting that the Court enter this

Dismissal Order and retain jurisdiction over the Settlement Agreement.

       THEREFORE, it is hereby ORDERED, ADJUDGED, and DECREED that:

       A.       Entry of this Dismissal Order is made at the request of the Parties in compromise

and settlement of this action.

       B.       Morris has consented to the dismissal of this action upon entry of the Injunction

Order, as defined in the Joint Motion.

       C.       The Court hereby dismisses, pursuant to FED. R. CIV. P. 41(a)(2), all claims in this

action between plaintiff and defendant in this civil action.

       D.       The Court retains jurisdiction over the Parties and the Parties’ Settlement

Agreement of December 1, 2011, which is incorporated herein by reference.


                                                  1

            Case 5:09-cv-00023-BR Document 136 Filed 12/19/11 Page 1 of 2
         SO ORDERED, this the ___        December
                              19 day of _________________, 2011.


                                                  ________________________________
                                                  Judge William Earl Britt
                                           Senior United States District Judge




  APPROVED AS TO FORM AND CONTENT:

/s/ N. Andrew Crain                             /s/ Catharine B. Arrowood___
N. Andrew Crain                                 Catharine B. Arrowood
THOMAS, KAYDEN, HORSTEMEYER & RISLEY, LLP       PARKER POE ADAMS & BERNSTEIN LLP
600 Galleria Parkway, S.E., Suite 1500          150 Fayetteville Street, Suite 1400
Atlanta, Georgia 30339                          Raleigh, North Carolina
andrew.crain@tkhr.com                           cbarrowood@parkerpoe.com

James P. West                                   Attorney for Defendant, Cooling & Applied
WEST LAW OFFICES                                Technology, Inc.
Two Hannover Square, Suite 2325
Raleigh, North Carolina 27601
jpwest@westlawpc.com

Attorneys for Plaintiff, Morris & Associates,
Inc.




                                                2

            Case 5:09-cv-00023-BR Document 136 Filed 12/19/11 Page 2 of 2
